     Case 1:21-cv-00217-HSO-BWR   Document 237-4    Filed 02/28/25   Page 1 of 4
                                                   Staci Turner, M.D. 12/18/2024


·1· · · · · IN THE UNITED STATES DISTRICT COURT

·2· · · ·FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

·3

·4· ·CATINA PARKER, as· · · ·)
· · ·Personal Representative )
·5· ·of the Estate of· · · · )
· · ·LEONARD PARKER, JR.,· · )
·6· ·Deceased,· · · · · · · ·)
· · · · · · · · ·Plaintiff,· )
·7· · · · · vs.· · · · · · · )1:21-CV-217 HSO-RHWR
· · ·THE CITY OF GULFPORT,· ·)
·8· ·a municipal corporation;)
· · ·JASON CUEVAS, in his· · )
·9· ·individual and official )
· · ·capacity,· · · · · · · ·)
10· · · · · · · ·Defendants. )

11

12· · · · · The Zoom Video Conference Discovery

13· ·Deposition of STACI TURNER, M.D., called for

14· ·examination pursuant to the Rules of Civil

15· ·Procedure for the United States District

16· ·Courts pertaining to the taking of depositions,

17· ·taken before MARLENE L. KING, a Certified

18· ·Shorthand Reporter within and for the County

19· ·of Cook and State of Illinois, on December 18,

20· ·2024, at the hour of 10:09 o'clock a.m.

21

22

23· · · · · REPORTED BY:· MARLENE L. KING, C.S.R.

24· · · · · LICENSE NO.:· 084-003326.


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·1· ·up to his death, correct?

·2· · · ·A.· ·Correct.

·3· · · ·Q.· ·Were you aware that Mr. Parker was the

·4· ·driver of a truck in the period of time leading

·5· ·up to his death?

·6· · · ·A.· ·Not that I recall.

·7· · · ·Q.· ·Okay.· As to the -- I think you

·8· ·testified earlier that the legal limit of

·9· ·alcohol in the State of Mississippi is 0.08,

10· ·correct?

11· · · ·A.· ·Yes.

12· · · ·Q.· ·And Mr. Parker's blood alcohol

13· ·concentration, the result, was 0.185, is that

14· ·correct?

15· · · ·A.· ·Yes.

16· · · ·Q.· ·Would it be fair to say that based

17· ·on this result Mr. Parker's blood alcohol

18· ·concentration was over twice the legal limit

19· ·in the State of Mississippi?

20· · · ·A.· ·Yes.

21· · · ·MS. RAVEENDRAN:· Objection.· Foundation.

22· ·BY MS. LIND:

23· · · ·Q.· ·Are you able to comment at all as to

24· ·whether Mr. Parker's blood alcohol concentration


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                                                   Staci Turner, M.D. 12/18/2024


·1· ·STATE OF ILLINOIS· · ·)

·2· · · · · · · · · · · · ·)· ·SS:

·3· ·COUNTY OF C O O K· · ·)

·4· · · · · I, MARLENE L. KING, a Certified Shorthand

·5· ·Reporter within and for the County of Cook

·6· ·and State of Illinois, do hereby certify

·7· ·that heretofore, to-wit, on December 18, 2024,

·8· ·personally appeared before me via Zoom,

·9· ·STACI TURNER, M.D., in a cause now pending

10· ·and undetermined in the United States District

11· ·Court for the Southern District of Mississippi,

12· ·wherein CATINA PARKER, as Personal

13· ·Representative of the Estate of LEONARD PARKER,

14· ·JR., deceased is the Plaintiff, and THE CITY OF

15· ·GULFPORT, a municipal corporation; JASON CUEVAS,

16· ·in his individual and official capacity are the

17· ·Defendants.

18· · · · · I further certify that the said STACI

19· ·TURNER, M.D. was first duly sworn to testify the

20· ·truth, the whole truth and nothing but the truth

21· ·in the cause aforesaid; that the testimony then

22· ·given by said witness was reported

23· ·stenographically by me in the presence of the

24· ·said witness via Zoom, and afterwards reduced to


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·1· ·typewriting by Computer-Aided Transcription, and

·2· ·the foregoing is a true and correct transcript

·3· ·of the testimony so given by said witness as

·4· ·aforesaid.

·5· · · · · I further certify that the signature to

·6· ·the foregoing deposition was waived by counsel

·7· ·for the respective parties.

·8· · · · · I further certify that the taking of this

·9· ·deposition was pursuant to Notice and that there

10· ·were present at the deposition the attorneys

11· ·hereinbefore mentioned.

12· · · · · I further certify that I am not counsel

13· ·for nor in any way related to the parties to

14· ·this suit, nor am I in any way interested in the

15· ·outcome thereof.

16· · · · · IN TESTIMONY WHEREOF:· I have hereunto

17· ·set my verified digital signature this 30th day

18· ·of December, 2024.

19

20

21· · · · · · · ·__________________________________

22· · · · · · · · · · LICENSE NO. 084-003326

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